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          IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF OHIO
                    EASTERN DIVISION


 Sarah R. Lee, on behalf of herself and          Case No. ______________
 all others similarly situated,

                        Plaintiff,

 v.

 Ohio Education Association; Avon
 Lake Education Association, as
 representative of the class of all chapters
 and affiliates of the Ohio Education
 Association; National Education
                                                 Plaintiff’s Class-Action Complaint
 Association; Avon Lake City School
 District, as representative of the class of
 all school districts in Ohio; John Kasich,
 in his official capacity as governor of
 Ohio; Mike DeWine, in his official
 capacity as Attorney General of Ohio;
 W. Criag Zimpher, Aaron A. Schmidt,
 and J. Richard Lumpe, each in his
 official capacity as chair, vice-chair, and
 board member of the State Employment
 Relations Board,

                        Defendants.



      Sararh R. Lee is a public-school teacher who brings this class action on behalf of
herself and all others similarly situated, seeking redress for the defendants’ past and
ongoing violations of her constitutionally protected rights. The defendants have vio-
lated the class members’ constitutional rights by forcing non-union members to pay
compulsory “fair-share fees” to the Ohio Education Association (OEA) or its affiliates
as a condition of their employment.



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                         JURISDICTION AND VENUE
    1.   The Court has subject-matter jurisdiction under 28 U.S.C. § 1331, 28
U.S.C. § 1343, and 28 U.S.C. § 1367.

    2.   Venue is proper because a substantial part of the events giving rise to the
claims occurred in this judicial district. See 28 U.S.C. § 1391(b)(2).
    3.   Because the Avon Lake Education Association and the Avon Lake City
School District reside in Lorain County, assignment to the Eastern Division is proper.
See Local Civil Rule 3.8.

                                       PARTIES
    4.   Plaintiff Sarah R. Lee resides in Cuyahoga County, Ohio.
    5.   Defendant Ohio Education Association (OEA) is a labor union whose head-
quarters are at 225 East Broad Street, Columbus, Ohio 43215.
    6.   Defendant Avon Lake Education Association is a local union chapter affili-
ated with the OEA. It is sued as representative of the class of all chapters and affiliates
of the OEA.
    7.   Defendant National Education Association (NEA) is a labor union whose
headquarters are at 1201 16th Street NW, Washington, D.C. The NEA is affiliated
with the OEA.
    8.   Defendant Avon Lake City School District is a school district in Lorain
County, Ohio. Its offices are at 175 Avon Belden Road, Avon Lake, Ohio 44012. It
is sued as representative of the class of all school districts in Ohio.
    9.   Defendant John Kasich is the governor of Ohio. His office is at Riffe Center,
30th Floor, 77 South High Street, Columbus, Ohio 43215-6117. Governor Kasich
is the representative of the State and he is sued in his official capacity.




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     10. Defendant Mike DeWine is the Attorney General of Ohio. His office is at
30 East Broad Street, 14th Floor, Columbus, Ohio 43215. He is charged with en-

forcing the state’s laws, including Ohio Rev. Code § 4117.09(B)(2)(C), which Ms.
Lee is challenging as unconstitutional, and he is sued in his official capacity.
     11. Defendants W. Criag Zimpher, Aaron A. Schmidt, and J. Richard Lumpe
are chair, vice-chair, and board member of the State Employment Relations Board.
Their offices are at 65 East State Street, Suite 1200, Columbus, Ohio 43215-4213.
They are charged with enforcing and administering the State’s collective-bargaining
laws, including Ohio Rev. Code § 4117.09(B)(2)(C), and they are sued in their offi-
cial capacities.

                        STATEMENT OF THE CLAIM
     12. Ms. Lee is a public-school teacher who works for the Avon Lake City School
District.
    13. Ms. Lee refuses to join the OEA or its affiliates because she disapproves of
their political advocacy and collective-bargaining activities, as well as the excessively
high salaries paid to OEA officials.
    14. Even though Ms. Lee is not a member of the OEA or its affiliates, she is
compelled to pay “fair-share fees” to the OEA and its affiliates as a condition of her
employment. See Ohio Rev. Code § 4117.09(B)(2)(C) (attached as Exhibit 1); Mas-
ter Contract Between the Avon Lake City School District and the Avon Lake Educa-
tion Association, article 4(G) (attached as Exhibit 2, at pages 9–10).
     15. Ms. Lee does not want to pay these “fair-share fees” because she disapproves
of the OEA’s activities and does not wish to subsidize them in any way. The compelled
subsidy that Ms. Lee and her fellow fair-share-fee payers must remit to the OEA as a
condition of their employment violates their constitutional rights.




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    16. The law of Ohio authorizes the OEA to extract money from non-union
members as a condition of employment. See Ohio Rev. Code § 4117.09(B)(2)(C)

(attached as Exhibit 1). Section 4117.09(B)(2)(C) is unconstitutional because it al-
lows public-employee unions to compel “fair-share fees” from nonmembers and with-
out first securing the employee’s affirmative, written, and freely given consent.
    17. Paragraph 3 of section 4117.09(B)(2)(C) allows religious objectors to di-
rect their “fair-share fees” to a non-religious, union-approved charity rather than to
the OEA itself, but only if the religious objector “is a member of and adheres to
established and traditional tenets or teachings of a bona fide religion or religious body
which has historically held conscientious objections to joining or financially support-
ing an employee organization.” This paragraph is unconstitutional for multiple rea-
sons. First, employees have a constitutional right to refrain from joining or providing
financial support to a public-employee union, and they cannot be subject to any fi-
nancial penalty for exercising this constitutional prerogative. Second, paragraph 3 of
section 4117.09(B)(2)(C) violates the Free Exercise Clause and Article I, § 7 of the
Ohio Constitution by limiting its protections to those whose religious beliefs forbid
them to join or support any labor union, while withholding its protections from those
who have no religious objections to labor unions per se but who object on religious
grounds to the specific ideological advocacy of the OEA. Third, section 6-407(c)(4)
violates the Free Exercise Clause and Article I, § 7 of the Ohio Constitution by cate-
gorically disqualifying religious charities as a permissible recipient of these compelled

payments. See Trinity Lutheran Church of Columbia, Inc. v. Comer, 137 S. Ct. 2012
(2017).
    18. The OEA, along with the Avon Lake City School District and every other
school district in the state, is acting under color of state law by imposing and collecting
these “fair-share fees” from Ms. Lee and her fellow class members. See Ohio Rev.
Code § 4117.09(B)(2)(C).


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    19. The OEA and its affiliates, along with the Avon Lake City School District
and every other school district in the state, have committed the torts of conversion

and trespass to chattels by confiscating money that belongs to public-school employ-
ees, and they are liable in an action for tort, trover, replevin, detinue, unjust enrich-
ment, restitution, or any other cause of action that might be available under state law
for the recovery of personal property. The unions and the school districts cannot de-
fend their tortious conduct by relying on Ohio Rev. Code § 4117.09(B)(2)(C), be-
cause this statutory provision is unconstitutional and unconstitutional statutes cannot
confer immunity on tortious behavior.
    20. The collective-bargaining agreement between the Avon Lake City School
District and the Avon Lake Education Association requires the union to indemnify
the school district and “provide a full legal defense . . . at no cost to the Board” in
any lawsuit that may arise out of the imposition of these “fair-share fees.” See Exhibit
2, article 4(G)(7), at pages 9–10.

                            CLASS ALLEGATIONS
    21. Ms. Lee brings this class action under Fed. R. Civ. P. 23(b)(1)(A),
(b)(1)(B), and (b)(3). The class includes all individuals who: (1) are or were employed
by the State of Ohio or any of its subunits, including any school district in the State;
and (2) are or were non-union members who were compelled by the OEA or its affil-
iates to pay “agency fees” or “fair-share fees” as a condition of their employment —
regardless of whether those fees were remitted to the union, its affiliates, or a third-
party organization. The class includes everyone who has ever fallen within this defini-
tion, including current, former, or retired teachers or teachers who have moved to
other States, and it includes anyone who comes within the class definition at any time
before the conclusion of this action.




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    22. The number of persons in the class makes joinder of the individual class
members impractical.

    23. There are questions of fact and law common to all class members. Factually,
all class members are public employees and non-union members who have been forced
to pay “fair-share fees” to the OEA or its affiliates as a condition of their employment.
Legally, the U.S. and Ohio Constitutions and Ohio tort law afford the same rights to
every member of the class.
    24. Ms. Lee’s claims are typical of other class members, as each class member
has objected to union membership yet was subject to “fair-share fees” despite their
refusal to join the OEA or its affiliates.
    25. Ms. Lee adequately represents the interests of her fellow class members, and
she has no interests antagonistic to the class.
    26. A class action can be maintained under Rule 23(b)(1)(A) because separate
actions by class members could risk inconsistent adjudications on the underlying legal
issues.
    27. A class action can be maintained under Rule 23(b)(1)(B) because an adju-
dication determining the constitutionality of compulsory “fair-share fees” will, as a
practical matter, be dispositive of the interests of all class members.
    28. A class action can be maintained under Rule 23(b)(3) because the common
questions of law and fact identified in the complaint predominate over any questions
affecting only individual class members. A class action is superior to other available

methods for the fair and efficient adjudication of the controversy because all class
members are subjected to the same violation of their constitutional rights, and the
amount of money involved in each individual’s claim would make it burdensome for
class members to maintain separate actions.




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                              CAUSES OF ACTION
    29. Ms. Lee is suing the OEA and its local affiliates, the NEA, the school dis-
tricts, Governor Kasich, Attorney General DeWine, and the members of the State

Employment Relations Board under 42 U.S.C. § 1983 and the Declaratory Judgment
Act, 28 U.S.C. § 2201, each of which supplies a cause of action for the individual and
class-wide relief that she is requesting.
    30. Ms. Lee is also suing the OEA, its affiliates, the NEA, and the school districts
under the state-law torts of conversion, trespass to chattels, trover, replevin, detinue,
unjust enrichment, restitution, and any other state-law cause of action that offers relief
for this unlawful seizure of her personal property. Mr. Lee invokes the supplemental
jurisdiction of this court over these pendent state-law claims. See 28 U.S.C. § 1367.
    31. Finally, Ms. Lee is suing the OEA, its affiliates, the NEA, and the school
districts under the Ohio state constitutional provisions that protect the rights of pri-
vate property and freedom of conscience, including but not limited to article I § 1,
and article I, § 7. Ms. Lee will also assert these state constitutional claims against the
state defendants if they are willing to waive their sovereign immunity under Pennhurst

State School & Hospital v. Halderman, 465 U.S. 89 (1984).

                             DEMAND FOR RELIEF
    32. Ms. Lee respectfully requests that the court:
         a.      certify a class of all nonunion members who have been forced to pay
                 “fair-share fees” to the OEA, its affiliates, or a third-party organiza-
                 tion as a condition of their employment;
         b.      declare that Ms. Lee and her fellow class members have a federal and
                 state constitutional right to decline to join or financially support a
                 public-employee union, and that they cannot be forced to pay money
                 to a public-employee union (or a union-approved third-party organi-
                 zation) as a condition of their employment;



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        c.     declare that state tort law and the state constitution protect the right
               of Ms. Lee and her fellow class members not to have their wages gar-

               nished or redirected by the OEA without their affirmative, written,
               and freely given consent, and that any state law or collective-bargain-
               ing agreement that purports to override these protections of state law
               by allowing the OEA to help itself to the wages and paychecks of
               school employees — or that compels school employees to consent the
               garnishment of their wages by the OEA as a condition of their em-
               ployment — is unconstitutional and without legal effect;
        d.     declare Ohio Rev. Code § 4117.09(B)(2)(C) unconstitutional be-
               cause it allows public-employee unions to extract “fair-share fees”
               from nonmembers as a condition of their employment, and perma-
               nently enjoin Governor Kasich, Attorney General DeWine, the mem-
               bers of the State Employment Relations Board, the school districts,
               and all of their officers, agents, servants, employees, attorneys, and
               any other person or entity in active concert or participation with them,
               from enforcing Ohio Rev. Code § 4117.09(B)(2)(C), or any other
               provision of state law that authorizes or enforces public-employee un-
               ion shops;
        e.     declare Paragraph 3 of Ohio Rev. Code § 4117.09(B)(2)(C) uncon-
               stitutional because it imposes a financial penalty on employees who

               exercise their constitutional right to refuse to join or financially sup-
               port a public-employee union;
        f.     declare that Paragraph 3 of Ohio Rev. Code § 4117.09(B)(2)(C) vi-
               olates the Free Exercise Clause and article I, § 7 of the Ohio Consti-
               tution by limiting its protections to those whose religious beliefs for-
               bid them to join or support any labor union, while withholding its


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               protections from those who have no religious objections to labor un-
               ions per se but who object on religious grounds to the specific ideo-

               logical advocacy of the OEA;
        g.     declare that Paragraph 3 of Ohio Rev. Code § 4117.09(B)(2)(C) vi-
               olates the Free Exercise Clause, as interpreted in Trinity Lutheran
               Church of Columbia, Inc. v. Comer, 137 S. Ct. 2012 (2017), as well
               as article I, § 7 of the Ohio Constitution, by categorically disqualify-
               ing religious charities from receiving the compelled payments de-
               scribed in that subsection;
        h.     permanently enjoin the Avon Lake City School District, along with
               every school district in the state of Ohio, from deducting “fair-share
               fees” from the paychecks of non-union members and remitting them
               to public-employee unions;
        i.     declare that article 4(G) of the collective bargaining agreement be-
               tween the Avon Lake City School District and the Avon Lake Educa-
               tion Association violates the constitutional rights of Ms. Lee and her
               fellow class members, and declare that all collective-bargaining agree-
               ments that compel non-union members to pay “fair-share fees” to the
               OEA or its affiliates as a condition of their employment are invalid
               and without effect;
        j.     permanently enjoin the Avon Lake City School District and the Avon

               Lake Education Association from enforcing article 4(G) of their col-
               lective-bargaining agreement, and permanently enjoin every school
               district and every OEA affiliate in the State from enforcing similar
               provisions in collective-bargaining agreements that require non-union
               members to pay “agency fees” or “fair-share fees” to a public-em-
               ployee union;


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        k.     order the OEA and its affiliates, including the NEA, to repay all
               “agency fees” or “fair-share fees” or other money that they unconsti-

               tutionally took from Ms. Lee and her fellow class members;
        l.     permanently enjoin the OEA and its affiliates, along with their offic-
               ers, agents, servants, employees, attorneys, and any other person or
               entity in active concert or participation with it, from taking or redi-
               recting any type of money from Ms. Lee and her fellow class members
               or any other public employee as a condition of their employment and
               without first obtaining the employee’s affirmative, written, and freely
               given consent;
        m.     permanently enjoin the Avon Lake City School District, along with
               every school district in the State, from entering into any collective-
               bargaining agreement that allows a public-employee union to collect
               or redirect any type of money from a non-union member;
        n.     order the OEA, its affiliates and chapters, the Avon Lake City School
               District, and every school district in the State to immediately honor
               and enforce a public employee’s decision to withdraw his membership
               or financial support of a public-employee union, regardless of the time
               of year that the decision is made;
        o.     award costs and attorneys’ fees under 42 U.S.C. § 1988;
        p.     grant all other relief that the Court may deem just, proper, or equita-

               ble.




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                                     Respectfully submitted.

                                      /s/ Sean Logue
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Dated: June 25, 2018                 the Proposed Class




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